                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI

JEFFREY J. FORD,               )
                               )                  Case No.:
              Plaintiff,       )
                               )
vs.                            )
                               )                  JURY TRIAL DEMANDED
MURPHY BROWN OF MISSOURI, LLC, )
Serve Registered Agent:        )
CT Corporation System          )
120 South Central Avenue       )
Clayton, MO 63105              )
                               )
MURPHY BROWN, LLC,             )
Serve Registered Agent:        )
CT Corporation System          )
120 South Central Avenue       )
Clayton, MO 63105              )
                               )
and                            )
                               )
SMITHFIELD FOODS, INC.,        )
Serve Registered Agent:        )
CT Corporation System          )
120 South Central Avenue       )
Clayton, MO 63105              )
                               )
              Defendants.      )

                                       COMPLAINT

      COMES NOW Plaintiff, Jeffrey J. Ford, by and through the undersigned counsel and

states and alleges as follows for his Complaint against the above-named Defendants Murphy

Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc.:

                                     INTRODUCTION

      1.       In violation of the American with Disabilities Act (“ADA”) and Missouri Human

Rights Act, Plaintiff, while an employee of Defendants Murphy Brown of Missouri, LLC,




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Murphy Brown, LLC and Smithfield Foods, Inc. was subjected to unlawful discrimination based

on his status as an individual with a disability/perceived disability.

       2.       Plaintiff also brings a claim for wrongful termination in violation of public policy

for Plaintiff’s assertion of a workers’ compensation claim and request for benefits provided by

such law.

       3.       Plaintiff seeks compensatory and punitive damages against Defendants.

                                             PARTIES

       4.       Plaintiff is and was at all times relevant to the allegations contained herein a

Missouri resident and employee of Defendants Murphy Brown of Missouri, LLC, Murphy

Brown, LLC and Smithfield Foods, Inc.

       5.       Defendant Murphy Brown of Missouri, LLC is and was at all times relevant to the

allegations contained herein, a foreign corporation with its principal place of business in

Princeton, Missouri and can be served through its registered agent, CT Corporation System, 120

South Central Avenue, Clayton, Missouri 63105.

       6.       Defendant Murphy Brown, LLC is and was at all times relevant to the allegations

contained herein, a foreign corporation with its principal place of business in Princeton, Missouri

and can be served through its registered agent, CT Corporation System, 120 South Central

Avenue, Clayton, Missouri 63105.

       7.       Defendant Smithfield Foods, Inc. is and was at all times relevant to the allegations

contained herein, a foreign corporation with its principal place of business in Princeton, Missouri

and can be served through its registered agent, CT Corporation System, 120 South Central

Avenue, Clayton, Missouri 63105.




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        8.       Defendants were the employer of Plaintiff during the time he was employed.

Defendants Murphy Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc.

are employers within the meaning of the Missouri Human Rights Act.

        9.       At all times relevant herein and based on information and belief, Defendants

Murphy Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc. formed an

integrated enterprise that employed Plaintiff or were Plaintiff’s joint employer.

                                     JURISDICTION AND VENUE

        10.      The discriminatory conduct alleged herein occurred in Mercer County, Missouri.

Additionally, the wrongful termination of Plaintiff, in violation of public policy, occurred in

Mercer County, Missouri.

        11.      Jurisdiction in this Court is proper. Jurisdiction over Plaintiff’s ADA claim is

based upon 28 U.S.C. § 1331.

        12.      Moreover, pursuant to 28 U.S.C. § 1332(a)(1), this Court has jurisdiction over

this matter because the amount in controversy exceeds $75,000, exclusive of interest and costs,

and because the lawsuit is between citizens of different states.

                                    FACTUAL ALLEGATIONS

        13.      Plaintiff was employed by Defendants from April 2013 until his termination in

April of 2014.

        14.      Plaintiff worked as Herdsperson I for Defendants and was responsible for moving

hogs in the gestation barn.

        15.      On April 15, 2014, Plaintiff suffered a serious on-the-job injury. More

specifically, while working, a hog smashed Plaintiff’s right hand into a crate in Wiles 2 gestation

barn.




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       16.     At the time of his injury, Mr. Jeremy O’Brien, Mr. Clayton Drier and Mr. Adam

Hernandez were present in the Wiles 2 gestation barn.

       17.     As a result of the incident, Plaintiff sustained injuries to his right hand that

ultimately required surgery on his right index finger.

       18.     As a result of the injuries sustained, Plaintiff sought emergency medical treatment

at Harrison County Community Hospital in Bethany, Missouri.

       19.     Plaintiff reported his on-the-job injury to his Farm Leader, Mr. Jeremy O’Brien,

Defendants’ agent, on April 15, 2014. At that time, Mr. O’Brien stated that Plaintiff could

perform light duty work.

       20.     On April 16, 2014, Plaintiff was seen by an orthopedic surgeon and was

scheduled for surgery on his right hand the next day.

       21.     Plaintiff reported to Mr. O’Brien that he was to undergo surgery on April 17,

2014 and that the surgeon stated he would need to be off of work for six weeks to avoid

infection.

       22.     On April 17, 2014, Plaintiff contacted Mr. O’Brien before his surgery and Mr.

O’Brien told him that he was terminated.

       23.     Upon information and belief, Defendants backdated Plaintiff’s termination to

April 15, 2014, the date of his injury, because Plaintiff did not shower out when he left to seek

emergency care for his injury.

       24.     Plaintiff thereafter filed a workers’ compensation claim as it relates to his medical

treatment, temporary workers’ compensation disability benefits and the permanent injuries he

sustained.




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        25.    As a result of the incident Plaintiff has suffered permanent injury to his right

hand.

        26.    As a result of the injuries sustained, Plaintiff suffered and continues to suffer from

his on-the-job injury to date.

        27.    Defendants were aware of Plaintiff’s disability/perceived disability as it relates to

his hand injuries.

        28.    At all times relevant herein, before and after, the above individuals were agents,

servants and employees of Defendants and were at all times acting within the scope and course

of their agency and employment, or their actions were expressly authorized and ratified by

Defendants. Therefore, Defendants are liable for the actions of said persons and/or perpetrators

under all theories pled herein.

        29.    The conduct set forth herein constitutes a continuing violation of the ADA and

Missouri Human Rights Act.

        30.    Based on information and belief, the true reasons for Plaintiff’s termination were

his status as an individual with a disability/perceived disability and/or his exercising of his rights

under the workers’ compensation laws.

                                    CONDITION PRECEDENT

        31.    Plaintiff filed a timely Charge of Discrimination with the Missouri Human Rights

Commission and the Equal Employment Opportunity Commission. A copy of the charge is

attached hereto as Exhibit A and incorporated herein by reference.

        32.    Plaintiff received a copy of his Notice of Right to Sue pursuant to the Missouri

Human Rights Act and Equal Employment Opportunity Commission. A true and accurate copy




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of the Notices are attached hereto as Exhibits B and C respectively and incorporated herein by

reference.

       33.      This action has been timely filed with this Court and Plaintiff has met all

conditions precedent to the filing of this action.

                                           COUNT I
                                  ADA-Disability Discrimination
                                    42 U.S.C. § 12101, et seq.

       34.      Plaintiff incorporates herein by reference the preceding paragraphs as if fully set

forth herein.

       35.      At all relevant times, Plaintiff was disabled within the meaning of the ADA.

       36.      Defendants’ termination of Plaintiff due to his disability/perceived disability

constitutes discriminatory conduct.

       37.      Plaintiff’s disability/perceived disability was a factor in the discriminatory

conduct he experienced and suffered.

       38.      The discriminatory conduct included, but was not limited to, Plaintiff’s unlawful

termination.    Defendants engaged in conduct that is prohibited by the Americans with

Disabilities Act, 42 U.S.C. § 12101, et seq.

       39.      Plaintiff’s terms and conditions of employment were adversely affected as a result

of Defendants’ conduct.

       40.      Defendants’ conduct caused Plaintiff degradation, humiliation, anxiety and

emotional distress.

       41.      The conduct described herein would have detrimentally affected a reasonable

person in Plaintiff’s position.




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       42.      Management level employees perpetuated the discrimination based on Plaintiff’s

status as a disabled/perceived disabled individual, including terminating Plaintiff because of his

disability/perceived disability.

       43.      In addition, management level employees knew or should have known of the

discrimination based on Plaintiff’s disability/perceived disability, but failed to address the

discrimination and further failed to implement effective and appropriate procedures to stop the

discrimination.

       44.      The actions and conduct set forth herein were outrageous and showed an evil

motive or reckless indifference or conscious disregard for the rights of Plaintiff and therefore

Plaintiff is entitled to punitive damages from Defendants to punish and deter Defendants and

others from like conduct.

       WHEREFORE, Plaintiff Jeffrey J. Ford prays for judgment in his favor and against

Defendants Murphy Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc.

on Count I of his Complaint, for a finding that he has been subjected to unlawful discrimination

as prohibited by 42 U.S.C. § 12101, et seq.; for an award of compensatory and punitive damages,

for his costs expended, for his reasonable attorneys’ fees and for such other relief as this Court

deems just and proper.

                                      COUNT II
                    Missouri Human Rights Act-Disability Discrimination
                                 Mo.Rev. Stat. 213.055

       45.      Plaintiff incorporates herein by reference the preceding paragraphs as if fully set

forth herein.

       46.      The actions of Defendants constitute unwelcome and discriminatory conduct.




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       47.     Plaintiff’s disability/perceived disability was a factor in the discriminatory

conduct he experienced and suffered.

       48.     The discriminatory conduct included, but was not limited to, Plaintiff’s unlawful

termination.

       49.     Plaintiff’s terms and conditions of employment were adversely affected as a result

of Defendants’ conduct.

       50.     Defendants’ conduct caused Plaintiff degradation, humiliation, anxiety and

emotional distress.

       51.     The conduct described herein would have detrimentally affected a reasonable

person in Plaintiff’s position.

       52.     Management level employees perpetuated the discrimination based on Plaintiff’s

status as a disabled/perceived disabled individual, including terminating Plaintiff because of his

disability/perceived disability.

       53.     In addition, management level employees knew or should have known of the

discrimination based on Plaintiff’s disability/perceived disability, but failed to address the

discrimination and further failed to implement effective and appropriate procedures to stop the

discrimination.

       54.     The actions and conduct set forth herein were outrageous and showed an evil

motive or reckless indifference or conscious disregard for the rights of Plaintiff and therefore

Plaintiff is entitled to punitive damages from Defendants to punish and deter Defendants and

others from like conduct.

       WHEREFORE, Plaintiff Jeffrey J. Ford prays for judgment in his favor and against

Defendants Murphy Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc.




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on Count II of his Complaint, for a finding that he has been subjected to unlawful discrimination

as prohibited by Mo.Rev.Stat. 213.010 et seq.; for an award of compensatory and punitive

damages, for his costs expended, for his reasonable attorneys’ fees and for such other relief as

this Court deems just and proper.

                                           COUNT III
                          Wrongful Termination in Violation of Public Policy

          55.   Plaintiff incorporates by reference each and every preceding paragraph as though

fully set forth herein.

          56.   Plaintiff availed himself of the workers’ compensation benefits under the laws of

the State of Missouri, in particular, Workers’ Compensation Law, R.S.MO. 287.010 et seq.

          57.   Under Section 287.010 of the Missouri Revised Statutes, Defendants had a duty to

furnish compensation and/or treatment to Plaintiff for his injuries, which arose out of the course

and scope of his employment with Defendants.

          58.   Under Section 287.780 of the Missouri Revised Statutes, Defendants are

prohibited from discharging or discriminating in any other way against Plaintiff for exercising

his rights under the Workers’ Compensation Law.

          59.   Plaintiff reported his work place injury and need for medical treatment. Plaintiff

also made a claim for workers’ compensation benefits seeking medical treatment, temporary

workers’ compensation disability benefits, a permanent partial disability rating and

compensation related to the same.

          60.   Defendants terminated Plaintiff two days after being informed that Plaintiff would

have to be off of work for six weeks following his surgery to avoid infection for his on-the-job

injury.




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       61.     Plaintiff’s exercise of his rights under the Workers’ Compensation Laws

contributed to the decision of Defendants to terminate Plaintiff’s employment.

       62.     Defendants violated the law and public policy of the State of Missouri by

discharging Plaintiff from his employment because due to his exercising of rights under the

Workers’ Compensation Law, R.S.Mo. Chapter 287.00 et seq.

       63.     As a direct and proximate cause of the alleged wrongful termination, Plaintiff has

incurred and will continue to incur damages, including emotional distress and lost wages.

       64.     Defendants’ conduct in terminating Plaintiff’s employment, when exercising his

workers’ compensation rights, was done intentionally, wantonly and with a conscious disregard

for Plaintiff’s rights. Defendants’ conduct renders them liable for punitive damages in an amount

sufficient to punish Defendants and to deter Defendants and others from engaging in similar

conduct.

       WHEREFORE, Plaintiff Jeffrey J. Ford prays for judgment in his favor and against

Defendants Murphy Brown of Missouri, LLC, Murphy Brown, LLC and Smithfield Foods, Inc.

on Count III of the Complaint, in the form of compensatory damages, including emotional

distress and lost wages, for punitive damages, for costs expended, and for such other relief as this

Court deems just and proper.




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                               DEMAND FOR JURY TRIAL

       Plaintiff, by and through undersigned counsel, hereby demands a jury trial on all counts

of the Complaint.



                                                       LAUREN ALLEN, LLC

                                                By: /s/ Lauren Perkins Allen____________
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                                                       ATTORNEY FOR PLAINTIFF




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